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                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                              GREENVILLE DIVISION


  IN RE:                                         )
                                                 )
  CAH ACQUISITION COMPANY #1,                    )      Case No. 19-00730-5-JNC
  LLC d/b/a WASHINGTON COUNTY                    )
  HOSPITAL,                                      )          Chapter 11
                                                 )
                                                 )
                Debtor.
                                                 )

                                CERTIFICATE OF SERVICE

         The undersigned does hereby certify that a copy of THIRD APPLICATION BY GRANT
 THORNTON LLP AS FINANCIAL CONSULTANT FOR THE TRUSTEE FOR
 ALLOWANCE OF INTERIM COMPENSATION AND REIMBURSEMENT OF
 EXPENSES [AUGUST 1, 2019 THROUGH NOVEMBER 30, 2019] was served via electronic
 service through CM/ECF upon those who have registered for such service listed in Exhibit A on
 April 10, 2020 and was served on those listed in Exhibit B by first class mail on April 13, 2020.

        This the 13th day of April, 2020.

                                      WALDREP LLP

                                       /s/ Jennifer B. Lyday
                                       Thomas W. Waldrep, Jr. (NC State Bar No. 11135)
                                       James C. Lanik (NC State Bar No. 30454)
                                       Jennifer B. Lyday (NC Bar No. 39871)
                                       Francisco T. Morales (NC Bar No. 43079)
                                       101 S. Stratford Road, Suite 210
                                       Winston-Salem, NC 27104
                                       Telephone: 336-717-1440
                                       Telefax: 336-717-1340
                                       Email: notice@waldrepllp.com

                                      Co-Counsel for the Trustee
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                        EXHIBIT A




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                                          VIA CM/ECF

 Rayford K. Adams, III on behalf of Debtors

 Jason L. Hendren on behalf of Trustee Thomas W. Waldrep, Jr.

 Rebecca F. Redwine on behalf of Trustee Thomas W. Waldrep, Jr.

 Benjamin E.F.B. Waller on behalf of Trustee Thomas W. Waldrep, Jr.

 James C. Lanik on behalf of Trustee Thomas W. Waldrep, Jr.

 Jennifer B. Lyday on behalf of Trustee Thomas W. Waldrep, Jr.

 Francisco T. Morales on behalf of Trustee Thomas W. Waldrep, Jr.

 Thomas W. Waldrep, Jr. on behalf of Trustee Thomas W. Waldrep, Jr.

 Marjorie K. Lynch on behalf of Bankruptcy Administrator Marjorie K. Lynch

 Brian Behr on behalf of Bankruptcy Administrator Marjorie K. Lynch

 Kirstin E. Gardner on behalf of Bankruptcy Administrator Marjorie K. Lynch

 Ryan J. Adams on behalf of Creditor Aspirar Medical Lab, LLC

 Brian R. Anderson on behalf of Health Care Ombudsman Suzanne Koenig

 Sam G. Bratton, II on behalf of Debtor CAH Acquisition Company 12, LLC and Interested Party
 Doerner, Saunders, Daniel & Anderson, LLP

 E. Franklin Childress on behalf of Creditor CAH Acquisition Company 11, LLC

 John Paul H. Cournoyer on behalf of Creditor Sun Finance, Inc., Creditor Paul L. Nusbaum,
 Creditor Steven F. White, and Interested Party Rural Community Hospitals of America, LLC

 Jonathan E. Friesen on behalf of Creditor Wendy C. Phillips

 Terri L. Gardner on behalf of Petitioning Creditor Medline Industries, Inc., Petitioning Creditor
 Washington County, NC, and Petitioning Creditor Robert Venable, M.D.

 Steven A. Ginther on behalf of Creditor Missouri Department of Revenue

 David J Haidt on behalf of Creditor Fairfax Healthcare Authority, Creditor First Liberty Bank,
 Interested Party City of Drumright, Oklahoma, Interested Party Cohesive Healthcare
 Management and Consulting, Interested Party Fairfax Healthcare Authority, Interested Party
                                                 3
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 Brent King, and Other Professional C. David Rhoades

 Patricia E. Hamilton on behalf of Interested Party Brent King

 Tyler E. Heffron on behalf of Interested Party City of Hillsboro, Kansas and the Public Building
 Commission of Hillsboro, Kansas

 Eric L. Johnson on behalf of Creditor First Capital Corporation

 Katherine Montgomery McCraw on behalf of Creditor NC Dept of Health and Human Services,
 DHB

 Felton E. Parrish on behalf of Interested Party Bank of Hays, Interested Party City of Hillsboro,
 Kansas, and the Public Building Commission of Hillsboro, Kansas, Interested Party Security
 Bank of Kansas City, Interested Party Brent King

 Nancy A. Peterman on behalf of Health Care Ombudsman Suzanne Koenig

 Mathew A. Petersen on behalf of Creditor First Capital Corporation

 Stephen W. Petersen on behalf of Creditor First Capital Corporation

 Brian H. Smith on behalf of Creditor Complete Business Solutions Group, Inc.

 Wesley F. Smith on behalf of Interested Party Brent King

 John M. Sperati on behalf of Creditor Somerset Capital Group, Ltd.

 Sharon L. Stolte on behalf of Interested Party Brent King

 Jeffrey R. Whitley on behalf of Creditor First Capital Corporation

 Nicholas Zluticky on behalf of Creditor First Liberty Bank and Interested Party Bank of Hays

 William Walt Petitt on behalf of Creditor Complete Business Solutions Group, Inc.

 Paul A. Fanning on behalf of Interested Party Cohesive Healthcare Management and Consulting,
 LLC

 Byron L. Saintsing on behalf of Siemens Financial Services, Inc.

 Ross A. Plourde on behalf of Cohesive Healthcare Management and Consulting LLC

 Marc S. Sacks on behalf of U.S, Department of Justice


                                                 4
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 Dennis M. Duffy on behalf of U.S. Department of Health and Human Services, U.S. Internal
 Revenue Service

 Ciara L. Rogers on behalf of Sherwood Partners, Inc.




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                         EXHIBIT B




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                                  UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF NORTH CAROLINA
                                         GREENVILLE DIVISION
IN RE: CAH ACQUISITION COMPANY #1, LLC d/b/a                    CASE NO: 19-00730-5-JNC
       WASHINGTON COUNTY HOSPITAL                               DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 11
                                                                ECF Docket Reference No. 746




On 4/13/2020, I did cause a copy of the following documents, described below,
Third Application by Grant Thorton LLP as Financial Consultant for the Trustee for Allowance of Interim Compensation and
Reimbursement of Expenses [August 1, 2019 through November 30, 2019] ECF Docket Reference No. 746




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 4/13/2020
                                                          /s/ Jennifer Lyday
                                                          Jennifer Lyday 39871
                                                          Waldrep LLP
                                                          101 S. Stratford Road
                                                          Winston-Salem, NC 27104
                                                          336 717 1440
           Case 19-00730-5-JNC               Doc 748 Filed 04/13/20 Entered 04/13/20 11:18:30                            Page 8 of 9




                                       UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF NORTH CAROLINA
                                              GREENVILLE DIVISION
 IN RE: CAH ACQUISITION COMPANY #1, LLC d/b/a                           CASE NO: 19-00730-5-JNC
        WASHINGTON COUNTY HOSPITAL
                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 11
                                                                        ECF Docket Reference No. 746




On 4/13/2020, a copy of the following documents, described below,

Third Application by Grant Thorton LLP as Financial Consultant for the Trustee for Allowance of Interim Compensation and
Reimbursement of Expenses [August 1, 2019 through November 30, 2019] ECF Docket Reference No. 746




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.
The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 4/13/2020




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Jennifer Lyday
                                                                            Waldrep LLP
                                                                            101 S. Stratford Road
                                                                            Winston-Salem, NC 27104
        Case 19-00730-5-JNC
PARTIES DESIGNATED AS "EXCLUDE" WERE Doc 748 Filed
                                     NOT SERVED       04/13/20
                                                VIA USPS          Entered
                                                         FIRST CLASS MAIL 04/13/20 11:18:30       Page 9 of    9
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM


ALISHA MCCLARY                           CAH ACQUISITION COMPANY # 1 LLC          CURTIS S. POTTER
P.O. BOX 595                             C/O CORPORATION SERVICE CO.              WASHINGTON COUNTY COUNTY
KEOTA OK 74941                           REG. AGENT                               MANAGER/ATTY
                                         2626 GLENWOOD AVENUE SUITE 550           PO BOX 1007
                                         RALEIGH NC 27608                         PLYMOUTH NC 27962


CHRISTOPHER A. MCELGUNN                  DEBBIE MAYHALL                           JENNIFER RADCLIFFE
KLENDA AUSTERMAN LLC                     30728 W.C.R. 1250                        305 SE 6TH STREET
1600 EPIC CENTER                         STIGLER OK 74462                         STIGLER OK 74462
301 N MAIN
WICHITA KS 67202-4816


JENNIFER ERIN OLDHAM                     JERRY P. SPORE                           JONATHAN O. STEEN
10177 WCR 1170                           SPRAGINS BARNETT & COBB PLC              SPRAGINS BARNETT & COBB PLC
STIGLER OK 74462                         312 E. LAFAYETTE STREET                  213 E. LAFAYETTE STREET
                                         JACKSON TN 38301                         JACKSON TN 38301



MARY SUSAN STRAIN                        NICKI SALES                              PATRICIA SHAFFER
P.O. BOX 85                              20293 NCR 4553                           30329 S.C.R. 4340
KEOTA OK 749412                          KEOTA OK 74941                           STIGLER OK 7446




SHANE REED                               SUZANNE KOENIG                           W. TYLER CHASTAIN ESQ.
DIRECTOR/CREDIT A/R ESCALATION           SAK MANAGEMENT SERVICES LLC              BERNSTEIN STAIR & MCADAMS LLP
FINANCE                                  300 SAUNDERS RD. SUITE 300               116 AGNES ROAD
THREE LAKES DRIVE                        RIVERWOODS IL 60015                      KNOXVILLE TENNESSEE 37919
NORTHFIELD IL 60093


PAUL A. FANNING                          GENERAL ELECTRIC CAPITAL                 MEDPRIME CAPITAL
WARD AND SMITH P.A.                      CORPORATION                              7808 CREEKRIDGE CIRCLE SUITE 250
POST OFFICE BOX 8088                     P.O. BOX 414 W-490                       EDINA MN 55439
GREENVILLE NC 27835-8088                 MILWAUKEE WI 53201
